        Case
        Case1:20-cv-04809-TCB
             1:20-cv-04809-TCB Document
                               Document34
                                        33 Filed
                                           Filed12/01/20
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                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
JAMES N. HATTEN                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                        December 1, 2020

Clerk of Court
U.S. Court of Appeals, Eleventh Circuit
56 Forsyth Street, N.W.
Atlanta, Georgia 30303

       U.S.D.C. No.: 1:20-cv-4809-TCB
       U.S.C.A. No.: 00-00000-00
       In re:        Coreco Jaqan Pearson et al v. Brian Kemp et al

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

   X
        Certified Notice of Appeal, Docket Sheet, Judgment and/or Order appealed
        enclosed.

        This is not the first notice of appeal. Other notices were filed on: .

        There is no transcript.

   X    The court reporter is Lori Burgess.

        There is sealed material as described below: .

        Other: .

   X    Fee paid electronically on 12/1/20. (Receipt# AGANDC-10432999)

        Appellant has been leave to appeal in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is .

   X    The District Judge is Timothy C. Batten, Sr.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              James N. Hatten
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By: /s/P. McClam
                                                            Deputy Clerk
Enclosures




                                                                                                       20
       Case 1:20-cv-04809-TCB Document 34 Filed 12/01/20 Page 2 of 20


                                                                       4months,APPEAL,SUBMDJ
                               U.S. District Court
                      Northern District of Georgia (Atlanta)
                CIVIL DOCKET FOR CASE #: 1:20−cv−04809−TCB

Pearson et al v. Kemp et al                              Date Filed: 11/25/2020
Assigned to: Judge Timothy C. Batten, Sr.                Jury Demand: None
Cause: 42:1983 Civil Rights Act                          Nature of Suit: 441 Civil Rights: Voting
                                                         Jurisdiction: Federal Question
Plaintiff
Coreco Jaqan Pearson                        represented by Harry W. MacDougald
                                                           Caldwell Propst & DeLoach, LLP
                                                           Suite 1600
                                                           Two Ravina Dr.
                                                           Atlanta, GA 30346
                                                           404−843−1956
                                                           Fax: 404−843−2737
                                                           Email: hmacdougald@cpdlawyers.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                         Howard Kleinhendler
                                                         Howard Kleinhendler Esquire
                                                         369 Lexington Avenue
                                                         12th Floor
                                                         New York, NY 10017
                                                         917−793−1188
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Julia Z. Haller
                                                         Defending the Republic
                                                         601 Pennsylvania Ave, NW
                                                         South Building
                                                         Ste 900
                                                         Washington, DC 20004
                                                         561−888−3166
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L. Lin Wood , Jr.
                                                         L. Lin Wood, P.C.
                                                         P.O. Box 52584
                                                         Atlanta, GA 30355−0584
                                                         404−891−1402
                                                         Fax: 404−506−9111
                                                         Email: lwood@linwoodlaw.com


                                                                                                    1
       Case 1:20-cv-04809-TCB Document 34 Filed 12/01/20 Page 3 of 20


                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Vikki Townsend Consiglio             represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                      Howard Kleinhendler
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Julia Z. Haller
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      L. Lin Wood , Jr.
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
Gloria Kay Godwin                    represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                      Howard Kleinhendler
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      Julia Z. Haller
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      PRO HAC VICE
                                                      ATTORNEY TO BE NOTICED

                                                      L. Lin Wood , Jr.
                                                      (See above for address)
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED

Plaintiff
James Kenneth Carroll                represented by

                                                                                2
       Case 1:20-cv-04809-TCB Document 34 Filed 12/01/20 Page 4 of 20


                                                 Harry W. MacDougald
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Carolyn Hall Fisher                  represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                 Howard Kleinhendler
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 Julia Z. Haller
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 PRO HAC VICE
                                                 ATTORNEY TO BE NOTICED

                                                 L. Lin Wood , Jr.
                                                 (See above for address)
                                                 LEAD ATTORNEY
                                                 ATTORNEY TO BE NOTICED

Plaintiff
Cathleen Alston Latham               represented by Harry W. MacDougald
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED



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                                                         Howard Kleinhendler
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Julia Z. Haller
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L. Lin Wood , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

Plaintiff
Brian Jay Van Gundy                       represented by Harry W. MacDougald
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED

                                                         Howard Kleinhendler
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         Julia Z. Haller
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         PRO HAC VICE
                                                         ATTORNEY TO BE NOTICED

                                                         L. Lin Wood , Jr.
                                                         (See above for address)
                                                         LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED


V.
Defendant
Brian Kemp                                represented by Charlene S McGowan
in his official capacity as Governor of                  Office of the Georgia Attorney General
Georgia                                                  Assistant Attorney General
                                                         40 Capitol Square SW
                                                         Atlanta, GA 30334
                                                         404−458−3658
                                                         Email: cmcgowan@law.ga.gov
                                                         ATTORNEY TO BE NOTICED

                                                                                                  4
        Case 1:20-cv-04809-TCB Document 34 Filed 12/01/20 Page 6 of 20




                                                          Russell D. Willard
                                                          Attorney General's Office−Atl
                                                          Department of Law
                                                          40 Capitol Square, SW
                                                          Atlanta, GA 30334
                                                          404−656−3300
                                                          Email: rwillard@law.ga.gov
                                                          ATTORNEY TO BE NOTICED

Defendant
Brad Raffensperger                            represented by Charlene S McGowan
in his official capacity as Secretary of                     (See above for address)
State and Chair of the Georgia State                         ATTORNEY TO BE NOTICED
Election Board
                                                          Russell D. Willard
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
David J. Worley                               represented by Charlene S McGowan
in his official capacity as a member of the                  (See above for address)
Georgia State Election Board                                 ATTORNEY TO BE NOTICED

                                                          Russell D. Willard
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Rebecca N. Sullivan                           represented by Charlene S McGowan
in her official capacity as a member of                      (See above for address)
the Georgia State Election Board                             ATTORNEY TO BE NOTICED

                                                          Russell D. Willard
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Matthew Mashburn                              represented by Charlene S McGowan
in his official capacity as a member of the                  (See above for address)
Georgia State Election Board                                 ATTORNEY TO BE NOTICED

                                                          Russell D. Willard
                                                          (See above for address)
                                                          ATTORNEY TO BE NOTICED

Defendant
Anh Le                                        represented by Charlene S McGowan
in her official capacity as a member of                      (See above for address)
the Georgia State Election Board                             ATTORNEY TO BE NOTICED

                                                                                          5
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                                                               Russell D. Willard
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED


V.
Intervenor Defendant
Democratic Party of Georgia, Inc.              represented by Adam Martin Sparks
                                                              Krevolin & Horst, LLC
                                                              One Atlantic Center, Ste 3250
                                                              1201 West Peachtree St., NW
                                                              Atlanta, GA 30309
                                                              404−888−9700
                                                              Email: sparks@khlawfirm.com
                                                              ATTORNEY TO BE NOTICED

Intervenor Defendant
DSCC                                           represented by Adam Martin Sparks
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED

Intervenor Defendant
DCCC                                           represented by Adam Martin Sparks
                                                              (See above for address)
                                                              ATTORNEY TO BE NOTICED


 Date Filed    #   Page Docket Text
 11/25/2020    1         COMPLAINT for Declaratory, Emergency, and Permanent Injunctive Relief,
                         filed by Gloria Kay Godwin, Vikki Townsend Consiglio, Coreco Jaqan Pearson,
                         James Kenneth Carroll, Carolyn Hall Fisher, Cathleen Alston Latham, Brian Jay
                         Van Gundy. (Filing fee $400, receipt number AGANDC−10418604)
                         (Attachments: # 1 Exhibit Affidavit Exh. 1, Report of William Briggs, # 2
                         Exhibit Affidavit Redacted Affidavit, # 3 Exhibit Affidavit of Anna Mercedes
                         Diaz Cardozo, # 4 Exhibit Affidavit Declaration of Harri Hursti, # 5 Exhibit
                         Affidavit Embedded Declaration of Harri Hursti, # 6 Exhibit Exhibit SoS
                         Certification of Dominion Voting Systems Democracy Suite 5.5−A, # 7 Exhibit
                         Exhibit Pro V&V Test Report, # 8 Exhibit Exhibit Study "Ballot−Marking
                         Devices (BMDs) Cannot Assure the Will of the, # 9 Exhibit Affidavit Redacted
                         Affidavit of Cyber−Security Expert, # 10 Exhibit Affidavit Affidavit of Russell
                         Ramsland, # 11 Exhibit Affidavit of Mayra Romera, # 12 Exhibit Affidavit of
                         Maria Diedrich, # 13 Exhibit Affidavit of Maria Diedrich, # 14 Exhibit Affidavit
                         of Ursula Wolf, # 15 Exhibit Affidavit of Nicholas J. Zeher, # 16 Exhibit
                         Affidavit of Susan Voyles, # 17 Exhibit Affidavit of Ibrahim Reyes, # 18
                         Exhibit Affidavit of Consetta Johnson, # 19 Exhibit Affidavit of Carlos Silva, #
                         20 Exhibit Affidavit of Andrea O'Neal, # 21 Exhibit Affidavit of Deborah
                         Fisher, # 22 Exhibit Affidavit of Kevin Peterford, # 23 Exhibit Report of Texas
                         Secretary of State Rejecting Dominion Voting Systems, # 24 Exhibit Letter of


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     Case 1:20-cv-04809-TCB Document 34 Filed 12/01/20 Page 8 of 20



                   Rep. Maloney to Smarmatic, # 25 Exhibit Affidavit of Juan Carlos Cobucci, #
                   26 Exhibit Senator Warren et al letter re: Dominion Voting Systems, # 27
                   Exhibit Affidavit of of Eric Quinnell, # 28 Exhibit Affidavit of Mitchell
                   Harrison, # 29 Exhibit Affidavit of Michelle Branton, # 30 Civil Cover
                   Sheet)(rvb) Please visit our website at
                   http://www.gand.uscourts.gov/commonly−used−forms to obtain Pretrial
                   Instructions and Pretrial Associated Forms which includes the Consent To
                   Proceed Before U.S. Magistrate form. Modified on 11/27/2020 to add relief text
                   (rvb). (Entered: 11/27/2020)
11/27/2020   2     EIGHTH AMENDMENT TO GENERAL ORDER 20−01 RE: COURT
                   OPERATIONS UNDER THE EXIGENT CIRCUMSTANCES CREATED BY
                   COVID−19 AND RELATED CORONAVIRUS. Signed by Judge Thomas W.
                   Thrash, Jr. on 09/28/2020. (rvb) (Entered: 11/27/2020)
11/27/2020         Submission of 1 Complaint, to District Judge Timothy C. Batten Sr. (rvb)
                   (Entered: 11/27/2020)
11/27/2020   3     PROPOSED SUMMONS filed by James Kenneth Carroll, Vikki Townsend
                   Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                   Coreco Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Summons
                   Proposed Summons for Anh Le, # 2 Summons Proposed Summons for Matthew
                   Mashburn, # 3 Summons Proposed Summons for Brad Raffensberger, # 4
                   Summons Proposed Summons for Rebecca N. Sullivan, # 5 Summons Proposed
                   Summons for David J. Worley, # 6 Summons Proposed Summons for Brian
                   Kemp)(MacDougald, Harry) (Entered: 11/27/2020)
11/27/2020   4     Certificate of Interested Persons by James Kenneth Carroll, Vikki Townsend
                   Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham,
                   Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry) (Entered:
                   11/27/2020)
11/27/2020   5     MOTION for Leave to File Matters Under Seal re: 1 Complaint,,,,,,,, with Brief
                   In Support by James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall
                   Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson,
                   Brian Jay Van Gundy. (Attachments: # 1 Exhibit Redacted Exh. 2 from
                   Complaint, # 2 Exhibit Redacted Exh.8 from the Complaint, # 3 Exhibit Exh. A,
                   Joint Cybersecurity Advisory Iranian Advanced Persistent Threat Actor
                   Identified Obtaining Voter Registration Data, # 4 Text of Proposed Order
                   Proposed Order)(MacDougald, Harry) (Entered: 11/27/2020)
11/27/2020   6     MOTION for Temporary Restraining Order IMMEDIATE HEARING
                   REQUESTED, MOTION for Preliminary Injunction with Brief In Support by
                   James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                   Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                   Gundy. (Attachments: # 1 Affidavit Declaration of Dr. Shiva Ayyadurai, # 2
                   Exhibit Joint CyberSecurity Advisory Exhibit, # 3 Text of Proposed
                   Order)(MacDougald, Harry) (Entered: 11/27/2020)
11/29/2020   7     NOTICE Of Filing Emergency Injunctive Relief by James Kenneth Carroll,
                   Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen
                   Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy re 6 MOTION for
                   Temporary Restraining Order IMMEDIATE HEARING REQUESTED
                   MOTION for Preliminary Injunction (Attachments: # 1 Affidavit Redacted


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                   Declaration)(MacDougald, Harry) (Entered: 11/29/2020)
11/29/2020    8    Electronic Summons Issued as to Rebecca N. Sullivan. (rsh) (Entered:
                   11/29/2020)
11/29/2020    9    Electronic Summons Issued as to Matthew Mashburn. (rsh) (Entered:
                   11/29/2020)
11/29/2020   10    Electronic Summons Issued as to David J. Worley. (rsh) (Entered: 11/29/2020)
11/29/2020   11    Electronic Summons Issued as to Brian Kemp. (rsh) (Entered: 11/29/2020)
11/29/2020   12    Electronic Summons Issued as to Brad Raffensperger. (rsh) (Entered:
                   11/29/2020)
11/29/2020   13    Electronic Summons Issued as to Anh Le. (rsh) (Entered: 11/29/2020)
11/29/2020   14    ORDER. Please see Order for further specifics and details. Signed by Judge
                   Timothy C. Batten, Sr. on 11/29/2020. (usw) (Entered: 11/29/2020)
11/29/2020   18    Minute Entry for proceedings held before Judge Timothy C. Batten, Sr.:
                   Telephone Conference via ZOOM held on 11/29/2020 re briefing, scheduling,
                   and Plaintiff's request to forensically inspect county voting machines. (Court
                   Reporter Lori Burgess)(dmb) (Entered: 11/30/2020)
11/30/2020   15    1292(b) ORDER − Please see order for specifics and details. Signed by Judge
                   Timothy C. Batten, Sr. on 11/30/2020. (usw) (Entered: 11/30/2020)
11/30/2020   16    NOTICE of Appearance by Charlene S McGowan on behalf of Brian Kemp,
                   Anh Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                   Worley (McGowan, Charlene) (Entered: 11/30/2020)
11/30/2020   17    ORDER Setting Hearing on Motion 6 MOTION for Temporary Restraining
                   Order IMMEDIATE HEARING REQUESTED and MOTION for Preliminary
                   Injunction : Motion Hearing set for 12/4/2020 at 10:00 AM in ATLA Courtroom
                   2106 before Judge Timothy C. Batten Sr. The Court sets the following schedule:
                   Defendants' brief in opposition to the claims in Plaintiffs' complaint will be due
                   on 12/2/2020, by 5:00 p.m. EST. Any reply brief will be due 12/3/2020 by 5:00
                   p.m. EST. Signed by Judge Timothy C. Batten, Sr. on 11/30/2020. (dmb)
                   (Entered: 11/30/2020)
11/30/2020   19    APPLICATION for Admission of Howard Kleinhendler Pro Hac Vice
                   (Application fee $ 150, receipt number AGANDC−10426686).by James
                   Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay
                   Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy.
                   (MacDougald, Harry) Documents for this entry are not available for viewing
                   outside the courthouse. (Entered: 11/30/2020)
11/30/2020         APPROVAL by Clerks Office re: 19 APPLICATION for Admission of Howard
                   Kleinhendler Pro Hac Vice (Application fee $ 150, receipt number
                   AGANDC−10426686).. Attorney Howard Kleinhendler added appearing on
                   behalf of James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall
                   Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson,
                   Brian Jay Van Gundy (nmb) (Entered: 11/30/2020)
11/30/2020   20    MOTION to Intervene with Brief In Support by Democratic Party of Georgia,
                   Inc., DSCC, DCCC. (Attachments: # 1 Exhibit A: Proposed Intervenors'

                                                                                                        8
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                  Proposed Motion to Dismiss, # 2 Exhibit B: Proposed Intervenors' Brief in
                  Support of Proposed Motion to Dismiss, # 3 Exhibit C: Proposed Intervenors'
                  Proposed Answer to Complaint)(Sparks, Adam) (Entered: 11/30/2020)
11/30/2020   21   NOTICE of Appearance by Russell D. Willard on behalf of Brian Kemp, Anh
                  Le, Matthew Mashburn, Brad Raffensperger, Rebecca N. Sullivan, David J.
                  Worley (Willard, Russell) (Entered: 11/30/2020)
11/30/2020   22   AMENDED 1292(b) ORDER − Please see order for specifics and details.
                  Signed by Judge Timothy C. Batten, Sr. on 11/30/2020. (dmb) (Entered:
                  11/30/2020)
11/30/2020        MINUTE ORDER granting Howard Kleinhendler's 19 Application for
                  Admission Pro Hac Vice. Entered by CRD at the direction of Judge Timothy C.
                  Batten, Sr. If the applicant does not have CM/ECF access in the Northern
                  District of Georgia already, they must request access at http://pacer.gov. If they
                  have electronically filed in this district in a previous case, please omit this
                  step.(usw) (Entered: 11/30/2020)
11/30/2020        Clerks Notation re 4 Certificate of Interested Persons. Reviewed and approved
                  by Judge Timothy C. Batten, Sr. (usw) (Entered: 11/30/2020)
11/30/2020   23   TRANSCRIPT of Proceedings held on 11/29/2020, before Judge Timothy C.
                  Batten, Sr.. Court Reporter/Transcriber Lori Burgess. A full directory of court
                  reporters and their contact information can be found at
                  www.gand.uscourts.gov/directory−court−reporters. Transcript may be viewed at
                  the court public terminal or purchased through the Court Reporter/Transcriber
                  before the deadline for Release of Transcript Restriction. After that date it may
                  be obtained through PACER. Redaction Request due 12/21/2020. Redacted
                  Transcript Deadline set for 12/31/2020. Release of Transcript Restriction set for
                  3/1/2021. (Attachments: # 1 Notice of Filing Transcript) (llb) (Entered:
                  11/30/2020)
11/30/2020   24   APPLICATION for Admission of Julia Z. Haller Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10429766).by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. (MacDougald, Harry)
                  Documents for this entry are not available for viewing outside the courthouse.
                  (Entered: 11/30/2020)
12/01/2020   25   Certificate of Interested Persons by DCCC, DSCC, Democratic Party of
                  Georgia, Inc.. (Sparks, Adam) (Entered: 12/01/2020)
12/01/2020        Clerks Notation re 25 Certificate of Interested Persons. Reviewed and approved
                  by Judge Timothy C. Batten, Sr. (usw) (Entered: 12/01/2020)
12/01/2020   26   APPLICATION for Admission of Amanda J. Beane Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432164).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   27   APPLICATION for Admission of Amanda R. Callais Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432211).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)


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12/01/2020   28   APPLICATION for Admission of Kevin J. Hamilton Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432219).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   29   APPLICATION for Admission of Marc E. Elias Pro Hac Vice (Application fee
                  $ 150, receipt number AGANDC−10432230).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020   30   APPLICATION for Admission of Matthew Mertens Pro Hac Vice (Application
                  fee $ 150, receipt number AGANDC−10432239).by DCCC, DSCC, Democratic
                  Party of Georgia, Inc.. (Sparks, Adam) Documents for this entry are not
                  available for viewing outside the courthouse. (Entered: 12/01/2020)
12/01/2020        APPROVAL by Clerks Office re: 24 APPLICATION for Admission of Julia Z.
                  Haller Pro Hac Vice (Application fee $ 150, receipt number
                  AGANDC−10429766).. Attorney Julia Z. Haller added appearing on behalf of
                  James Kenneth Carroll, Vikki Townsend Consiglio, Carolyn Hall Fisher, Gloria
                  Kay Godwin, Cathleen Alston Latham, Coreco Jaqan Pearson, Brian Jay Van
                  Gundy (nmb) (Entered: 12/01/2020)
12/01/2020   31   NOTICE Of Filing by James Kenneth Carroll, Vikki Townsend Consiglio,
                  Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston Latham, Coreco
                  Jaqan Pearson, Brian Jay Van Gundy (Attachments: # 1 Affidavit Declaration of
                  Ronald Watkins)(MacDougald, Harry) (Entered: 12/01/2020)
12/01/2020   32   NOTICE OF APPEAL as to 14 Order by James Kenneth Carroll, Vikki
                  Townsend Consiglio, Carolyn Hall Fisher, Gloria Kay Godwin, Cathleen Alston
                  Latham, Coreco Jaqan Pearson, Brian Jay Van Gundy. Filing fee $ 507, receipt
                  number AGANDC−10432999. Transcript Order Form due on 12/15/2020
                  (MacDougald, Harry) (Entered: 12/01/2020)
12/01/2020   33   NOTICE Of Filing NOA Transmittal Letter re: 32 Notice of Appeal. (pjm)
                  (Entered: 12/01/2020)




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      Case
       Case1:20-cv-04809-TCB
            1:20-cv-04809-TCB Document
                               Document34
                                        14 Filed
                                            Filed12/01/20
                                                  11/29/20 Page
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                                                                      4




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                          CIVIL ACTION FILE
v.
                                          NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                                ORDER

     Plaintiffs have filed an emergency motion [6] for temporary

injunctive relief. In their motion, Plaintiffs seek an order directing

Defendants to allow Plaintiffs’ expert(s) to inspect the Dominion voting



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machines in Cobb, Gwinnett, and Cherokee Counties. The Court

conducted a Zoom hearing at 7:45 p.m. EST to consider Plaintiffs’

motion.

     During the hearing, Defendants’ counsel argued that the secretary

of state has no lawful authority over county election officials, citing

Jacobson v. Florida Secretary of State, 974 F.3d 1236, 1256–58 (11th

Cir. 2020). Plaintiffs’ counsel responded that Plaintiffs could amend

their complaint to add the elections officials in Cobb, Gwinnett, and

Cherokee Counties, thus obviating the issue of whether the proper

officials had been named as Defendants to this case.

     Defendants’ counsel also argued that allowing such forensic

inspections would pose substantial security and proprietary/trade secret

risks to Defendants. Plaintiffs’ counsel responded that Defendants’

concerns could be alleviated by an order from the Court (1) allowing

Defendants’ own expert(s) to participate in the requested inspections,

which would be video-recorded, and (2) directing the experts to provide

whatever information they obtain to the Court—and no one else—for an

in camera inspection.

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     After considering the parties’ email submissions today and the

arguments advanced at the Zoom hearing, it is hereby ORDERED,

ADJUDGED and DECREED as follows:

                                      1.

     Defendants shall have until Wednesday, December 2, at 5:00 p.m.

EST, to file a brief setting forth in detail the factual bases they have, if

any, against allowing the three forensic inspections. The brief should be

accompanied and supported by affidavit or other evidence, if

appropriate.

                                      2.

     Defendants are hereby ENJOINED and RESTRAINED from

altering, destroying, or erasing, or allowing the alteration, destruction,

or erasure of, any software or data on any Dominion voting machine in

Cobb, Gwinnett, and Cherokee Counties.

                                      3.

     Defendants are ORDERED to promptly produce to Plaintiffs a

copy of the contract between the State and Dominion.




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                                      4.

     This temporary restraining order shall remain in effect for ten

days, or until further order of the Court, whichever comes first.

     IT IS SO ORDERED this 29th day of November, 2020, at 10:10

p.m. EST.



                                   ____________________________________
                                   Timothy C. Batten, Sr.
                                   United States District Judge




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          IN THE UNITED STATES DISTRICT COURT
     NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

CORECO JA’QAN PEARSON, VIKKI
TOWNSEND CONSIGLIO, GLORIA KAY
GODWIN, JAMES KENNETH CARROLL,                              CASE NO.
CAROLYN HALL FISHER, CATHLEEN
ALSTON LATHAM and BRIAN JAY VAN                             1:20-cv-4809-TCB
GUNDY,
Plaintiffs,
v.
BRIAN KEMP, in his official capacity as
Governor of Georgia, BRAD
RAFFENSPERGER, in his official capacity as
Secretary of State and Chair of the Georgia
State Election Board, DAVID J. WORLEY, in his
official capacity as a member of the Georgia
State Election Board, REBECCA N.SULLIVAN,
in her official capacity as a member of the
Georgia State Election Board, MATTHEW
MASHBURN, in his official capacity as a
member of the Georgia State Election Board,
and ANH LE, in her official capacity as a
member of the Georgia State Election Board,

Defendants.


      NOTICE OF EMERGENCY INTERLOCUTORY APPEAL AS OF RIGHT

      Plaintiffs Coreco Ja’Qan Pearson, et al., hereby file an emergency

appeal to the United States Court of Appeals for the Eleventh Circuit from

this Court’s interlocutory order of November 29, 2020 (Doc.14) to the extent it

denies the full relief Plaintiffs requested in their motion for a temporary

restraining order. See Schiavo ex rel. Schindler v. Schiavo, 403 F.3d 1223,

1225 (11th Cir. 2005) (“Although we ordinarily do not have jurisdiction over




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appeals from orders granting or denying temporary restraining orders, in

circumstances such as these, ‘when a grant or denial of a TRO might have a

serious, perhaps irreparable, consequence, and can be effectively challenged

only by immediate appeal, we may exercise appellate jurisdiction.” (quoting

Ingram v. Ault, 50 F.3d 898, 900 (11th Cir. 1995)).1

      Plaintiffs respectfully ask that this Court immediately transmit this

notice of appeal to the Eleventh Circuit today so that that court may docket

the matter, thus enabling Plaintiffs to file a motion for an expedited briefing

schedule pursuant to which Plaintiffs propose to file their brief by midnight

December 2, 2020, and Appellee’s brief by December 4, 2020.

      Moreover, this Notice of Appeal as of right should divest the district

court of jurisdiction. If not, Plaintiffs would request a stay of the hearing

currently scheduled in the district court for December 4, 2020, until this

Court has ruled on the questions raised by the appeal, including whether

Plaintiffs must add to the suit each of the 600-plus county election officials in


1 While this Court, pursuant to 42 U.S.C. §1292(b), has certified its order as
involving a “controlling question of law as to which there is a substantial
ground for difference of opinion and that an immediate appeal from the order
may materially advance the ultimate termination of the litigation,” (Doc.15),
Plaintiffs would seek permission to appeal under §1292(b) only in the
alternative, if the Eleventh Circuit deems that necessary. Plaintiffs file this
notice, however, as a matter of right, pursuant to Schiavo. (“In these
circumstances we treat temporary restraining orders as equivalent to
preliminary injunctions or final judgments, either of which are appealable.”)
Schiavo, 403 F.3d at 1225 (citing 28 U.S.C. §§1291, 1292(a)(1).



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addition to the Secretary of State for Georgia, who by law is responsible for

Georgia elections and spent $107 million taxpayer dollars to purchase

Dominion voting systems for the entire state.

/s Sidney Powell*
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(214) 707-1775
*Application for admission pro hac vice forthcoming

/s Howard Kleinhendler
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Counsel for Plaintiffs




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Attorneys for Plaintiffs



      The undersigned certifies that the foregoing document was prepared in

13-point Century Schoolbook font and in accordance with the margin and

other requirements of Local Rule 5.1.



                                    s/ Harry W. MacDougald
                                    Harry W. MacDougald
                                    Georgia Bar No. 463076




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                     CERTIFICATE OF SERVICE

      This is to certify that I have on this day e-filed the foregoing NOTICE

OF EMERGENCY INTERLOCUTORY APPEAL AS OF RIGHT with             the Clerk of

Court using the CM/ECF system which will cause service to made upon

counsel of record therein.

      This 1st day of December 2020.

                                   s/ Harry W. MacDougald
                                   Harry W. MacDougald
                                   Georgia Bar No. 463076

Caldwell, Propst & DeLoach, LLP
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